Case 2:23-cv-00692-JDC-TPL Document 49 Filed 01/23/24 Page 1 of 2 PageID #: 3074




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                            LAKE CHARLES DIVISION


 STATE OF LOUISIANA                                CASE NO. 2:23-CV-00692

 VERSUS                                            JUDGE JAMES D. CAIN, JR.

 U S ENVIRONMENTAL PROTECTION                      MAGISTRATE JUDGE KAY
 AGENCY ET AL


                                       JUDGMENT


        Pursuant to the Memorandum Ruling of this date,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Defendants’ Cross-

 Motion to Dismiss, or in the Alternative, for Summary Judgment (Doc. 29) is GRANTED

 in part and DENIED in part. The Motion is granted to the extent that the State of

 Louisiana’s claim as to the EPA’s violation of the private non-delegation doctrine is

 dismissed; otherwise, the Motion is denied.

        IT IS FURTHER ORDERED that Louisiana’s Request for Judicial Notice (Doc.

 39) is GRANTED.

        IT IS FURTHER ORDERED that the State of Louisiana’s Motion for Preliminary

 Injunction (Doc. 10) is GRANTED in part and DENIED in part. The Motion is granted as

 to the disparate impact analysis claims and extra-regulatory requirements (cumulative

 impact analysis); a separate Preliminary Injunction will be issued.
Case 2:23-cv-00692-JDC-TPL Document 49 Filed 01/23/24 Page 2 of 2 PageID #: 3075




       IT IS FURTHER ORDERED that the State of Louisiana’s Motion to Expedite is

 GRANTED.

       THUS DONE AND SIGNED in Chambers on this 23rd day of January, 2024.


                 ___________________________________________
                             JAMES D. CAIN, JR.
                      UNITED STATE DISTRICT JUDGE




                                   Page 2 of 2
